


  Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 20th day of May 2008 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendants, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
 

  "Allowed by order of the Court in conference, this the 26th day of August 2008."
 

  Upon consideration of the alternative petition filed on the 20th day of May 2008 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Allowed by order of the Court in conference, this the 26th day of August 2008."
 

  Upon consideration of the petition filed by Plaintiffs on the 21st day of May 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Allowed by order of the Court in conference, this the 26th day of August 2008."
 

  Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
 

  MARTIN, J., recused.
 
